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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


 MICHAEL REILLEY, JR.,                                )
 MICHEAL REILLEY, SR.,                                )
                                                      )
                               Plaintiffs,            )
                                                      )
                          v.                          )       No. 1:17-cv-04540-RLM-MJD
                                                      )
 BUTLER UNIVERSITY,                                   )
 STACIE COLSTON PATTERSON,                            )
 MARTHA DZIWLIK,                                      )
                                                      )
                               Defendants.            )




                          MINUTE ENTRY FOR JULY 12, 2018
                              STATUS CONFERENCE
                    HON. MARK J. DINSMORE, MAGISTRATE JUDGE


        The parties appeared by telephone for a Status Conference. The parties discussed the

 status of and future plans for discovery, as well as the parties’ readiness for the upcoming

 settlement conference. The conference concluded without further order.



        Dated: 12 JUL 2018




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